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 6                           IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Anant Kumar Tripati,                           No. CV 18-00066-TUC-RM
10                           Plaintiff,
11   v.                                             ORDER FOR PAYMENT
12   Corizon Inc., et al.,                          OF INMATE FILING FEE
13                           Defendants.
14
15   TO: THE DIRECTOR OF THE ARIZONA DEPARTMENT OF CORRECTIONS
16          Plaintiff Anant Kumar Tripati, inmate #102081, who is confined in the East Unit,
17   must pay the statutory filing fee of $350.00. Plaintiff is not assessed an initial partial
18   filing fee. Plaintiff must pay the filing fee in monthly payments of 20% of the preceding
19   month’s income credited to Plaintiff’s trust account.      The Director of the Arizona
20   Department of Corrections or his/her designee must collect and forward these payments
21   to the Clerk of Court each time the amount in the account exceeds $10.00.
22   IT IS ORDERED:
23          (1)     The Director of the Arizona Department of Corrections or his/her designee
24   must collect the $350.00 filing fee from Plaintiff’s trust account in monthly payments of
25   20% of the preceding month’s income credited to the account.          Payments must be
26   forwarded to the Clerk of Court each time the amount in the account exceeds $10.00.
27   The payments must be clearly identified by the name and number assigned to this action.
28          (2)     The Director of the Arizona Department of Corrections or his/her designee
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 1   must notify the Clerk of Court in writing when Plaintiff is released or transferred to a
 2   correctional institution other than the East Unit, so new billing arrangements may be
 3   made to collect any outstanding balance.
 4            (3)   The Clerk of Court must serve by mail a copy of this Order on the Director
 5   of the Arizona Department of Corrections, 1601 West Jefferson, Phoenix, Arizona,
 6   85007.
 7            (4)   The Clerk of Court must forward a copy of this Order to Financial
 8   Administration for the Tucson Division of the United States District Court for the District
 9   of Arizona. Financial Administration must set up an account to receive payments on the
10   filing fee for this action and must notify the Court when the filing fee is paid in full.
11            Dated this 12th day of June, 2018.
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